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 1                              UNITED STATES DISTRICT COURT
 2                                        DISTRICT OF NEVADA
 3
 4   UNITED STATES OF AMERICA,                             Case No.: 2:18-cr-00095-APG-NJK
 5                           Plaintiff,                        Order Continuing Hearing
 6   v.
 7   EVER ALVARADO-CORONADO,
 8                          Defendant.
 9         Due to conflicting duties of the Court, the Court CONTINUES the hearing currently set
10 for May 25, 2018, at 10:00 a.m. in courtroom 3B, IN TIME ONLY to 2:00 p.m. Defendant and
11 his counsel are required to be present in the courtroom at the hearing.
12         IT IS SO ORDERED.
13         DATED: May 24, 2018.
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16                                               NANCY J. KOPPE
                                                 UNITED STATES MAGISTRATE JUDGE
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